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 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10

11 STRIKE 3 HOLDINGS, LLC,                           Case Number: 3:20-cv-02314-GPC-KSC
12                        Plaintiff,                 MEMORANDUM OF POINTS
                                                     AND AUTHORITIES IN
13 vs.                                               SUPPORT OF PLAINTIFF’S EX-
                                                     PARTE APPLICATION FOR
14 JOHN DOE subscriber assigned IP                   LEAVE TO SERVE A THIRD-
     address 104.6.138.154,                          PARTY SUBPOENA PRIOR TO A
15                                                   RULE 26(f) CONFERENCE
                          Defendant.
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           Memorandum of Points and Authorities in Support of Plaintiff’s Ex-Parte Application
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2        Pursuant to Fed. R. Civ. P. 26(d)(1), Plaintiff Strike 3 Holdings, LLC
 3 (“Strike 3”) hereby respectfully submits this Memorandum of Points and

 4 Authorities in support of its Ex-Parte Application for leave to serve a third-party

 5 subpoena prior to a Rule 26(f) conference.

 6   I.   INTRODUCTION
 7        Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) is the owner of
 8 original, award winning motion pictures featured on its brand’s subscription-based

 9 adult websites. Unfortunately, Strike 3’s success has led users on the Internet to
10 illegally infringe its works on a very large scale. Indeed, Strike 3’s motion

11 pictures are among the most infringed content in the world. See Declaration of

12 David Williamson, (“Williamson Decl.”) attached hereto as Exhibit “A.”

13        Strike 3, using its proprietary forensic software, VXN Scan (“VXN”),
14 monitored and detected the infringement of Strike 3’s content. See id. at ¶ 40.

15 VXN discovered that Defendant’s IP address was illegally distributing a large

16 number of Strike 3’s motion pictures. See Declaration of Patrick Paige, attached

17 hereto as Exhibit “B”. This IP address is assigned to Defendant by his or her

18 Internet Service Provider (“ISP”), which is the only party with the information

19 necessary to identify Defendant by correlating the IP address with John Doe’s

20 identity. Id. at ¶ 22. To investigate the infringement, Plaintiff needs the

21 subscriber’s identity, which is maintained by the ISP, but the ISP cannot disclose

22 that information unless authorized to do so by a court order. See 47 U.S.C.

23 § 551(c)(2)(B) (“A cable operator may disclose such information if the disclosure

24 is . . . made pursuant to a court order authorizing such disclosure[.]”). As a result,

25 Plaintiff now seeks leave to serve limited, immediate discovery on Defendant’s

26 ISP, AT&T U-verse (AT&T U-verse) so that Plaintiff may learn Defendant’s

27 identity, further investigate Defendant’s role in the infringement, and effectuate

28                                                1

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 1 service. Further impelling expediency, Defendant’s ISP only maintains the

 2 internal logs of the requested information for a brief period of time.1

 3           Plaintiff seeks leave of Court to serve a Rule 45 subpoena on Defendant’s
 4 ISP. This subpoena will only demand the true name and address of Defendant.

 5 Plaintiff will only use this information to prosecute the claims made in its

 6 Complaint. Without this information, Plaintiff cannot serve Defendant nor pursue

 7 this lawsuit and protect its copyrights.

 8   II.     FACTS
 9           A.     BitTorrent Infringement has a Serious and Damaging Impact on
10                  Strike 3
11          Strike 3 holds title to the intellectual property associated with the Blacked,
12 Blacked Raw, Tushy, and Vixen adult brands (the “Brands”), including the

13 copyrights to each of the motion pictures distributed through the Brands’ sites and

14 the trademarks to each of the Brand’s names and logos. Williamson Decl. at ¶ 13.

15 Strike 3 is owned entirely by General Media Systems (“GMS”) and has existed

16 since 2015. Id.

17           Although it started out small, the Brands’ websites now host approximately
18 15 million visitors each month. Id. at ¶ 14. This success is no fluke. Strike 3’s

19 philosophy has always been to pay artists and models an amount above that being

20 paid by other companies, focusing on delivering superior quality films. Id. at

21 ¶¶ 15–17. Moreover, Strike 3’s motion pictures are known for having some of the

22 highest production budgets of any in the adult industry. Id. at ¶ 19.

23
        1
            See, e.g., Statement Of Jason Weinstein Deputy Assistant Attorney General
24 Criminal Division Before The Committee On Judiciary Subcommittee On Crime,
     Terrorism, And Homeland Security United States House Of Representatives,
25 (January 2011) at
     http://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/01/25/
26 11//01-25-11-crm-weinstein-testimony-re-data-retention-as-a-tool-for-
     investigating-internet-child-pornography-and-other-internet-crimes.pdf, stating:
27 “Some [ISP] records are kept for weeks or months; others are stored very briefly
     before being purged.”
28                                                   2

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 1         Because of this commitment to quality, the websites for the Brands have a
 2 subscriber base that is one of the highest of any adult sites in the world. Id. at

 3 ¶ 20. Strike 3 is also currently the number one seller of adult DVDs in the United

 4 States. Id. at ¶ 21. Finally, Strike 3’s content is licensed throughout the world,

 5 including by most major cable networks. Id. at ¶ 22. This success has also been

 6 marked by Strike 3 winning numerous awards, such as “adult site of the year,”

 7 “best marketing campaign – company image,” and “best cinematography.” Id. at

 8 ¶ 23.

 9         Unfortunately, piracy is a major threat and causes tremendous damage to
10 Strike 3. To continue to provide value for members, exciting and inspiring

11 projects for adult performers, and to continue to create top paying jobs and growth

12 in the adult community, Strike 3 must protect its copyrights. Id. at ¶ 39.

13         B.    Plaintiff Brings Its Litigation in Good Faith
14         Strike 3 is mindful of the nature of the litigation and its goal is to not
15 disclose publicly the choices that people make regarding the content they wish to

16 enjoy. Moreover, Strike 3 does not seek to force anyone to settle unwillingly,

17 especially anyone that is innocent. Id. at ¶ 33. Therefore, Strike 3 only files

18 strong cases against extreme infringers. Id. at ¶ 34. Indeed, each lawsuit is

19 brought against infringers who not only engage in illegal downloading, but who

20 are also large-scale unauthorized distributors of Strike 3’s content. Id. Strike 3

21 does not seek settlements unless initiated by a defendant or a defendant’s counsel.

22 Id. at ¶ 35. Additionally, Strike 3 does not send demand letters. Id. Finally,

23 although certainly Strike 3 does not believe anyone should be embarrassed about

24 their interests in viewing Strike 3’s works (they just need to pay for that right, not

25 steal it), Strike 3 respects the desire of defendants to keep private their choices

26 regarding the content they choose to enjoy. Accordingly, Strike 3 has a policy to:

27 (1) enter into confidentiality agreements with defendants to facilitate resolution of

28                                                3

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 1 a case; and (2) stipulate to requests by defendants to the entry of orders in

 2 litigation to maintain the confidentiality of a defendant’s identity. Thus, Strike 3

 3 is careful to only proceed to litigation with strong cases, when it has a good faith

 4 basis for doing so, and to enforce its rights in a way that is mindful and protective

 5 of a defendant’s privacy interests.

 6        Strike 3 is a successful adult entertainment company that makes nearly the
 7 entirety of its revenue from sales of subscriptions, DVDs and licenses. Id. at ¶ 37.

 8 Strike 3’s goal is to deter piracy (and seek redress for its harmful consequences)

 9 and direct those who infringe content to the avenue of legitimately acquiring
10 access to Strike 3’s works. Id.

11 III.   ARGUMENT
12        A.     Legal Standard Governing Expedited Discovery Requests To
13               Identify An Anonymous Defendant
14        Cases such as this one are the paradigm for when leave to conduct pre-Rule
15 26(f) conference discovery should be allowed. “Generally, discovery is not

16 permitted without a court order before the parties have conferred pursuant to

17 Federal Rule of Civil Procedure 26(f).” Malibu Media, LLC v. Doe, No. CV 16-

18 1916-GPC (JMA), 2016 WL 6216183 at *1 (S.D. Cal. Oct. 25, 2016) (citing Fed.

19 R. Civ. P. 26(d)(1)). “[H]owever, . . . courts have made exceptions, permitting

20 limited discovery to ensue after filing of the complaint to permit the plaintiff to

21 learn the identifying facts necessary to permit service on the defendant.” Criminal

22 Prods., Inc. v. Doe-72.192.163.220, No. CV 16-2589 WQH (JLB), 2016 WL

23 6822186, at *1 (S.D. Cal. Nov. 18, 2016) (quoting Columbia Ins. Co. v.

24 Seescandy.com, 185 F.R.D. 573, 577 (N.D. Cal. 1999)).

25        “Courts in the Ninth Circuit apply the ‘good cause’ standard in deciding
26 whether to permit early discovery.” Strike 3 Holdings, LLC v. Doe, No. CV 17-

27 2317-JAH (BLM), 2017 WL 6389848 at *1 (S.D. Cal. Dec. 14, 2017) (citing

28                                                4

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 1 Semitool, Inc. v. Tokyo Electron America, Inc., 208 F.R.D. 273, 274 (N.D. Cal.

 2 2002)). “Requests to conduct discovery prior to a Rule 26(f) conference are

 3 granted upon a showing of good cause by the moving party, which may be found

 4 ‘where the need for expedited discovery, in consideration of the administration of

 5 justice, outweighs the prejudice to the responding party.’” QOTD Film Inv. Ltd. v.

 6 Doe, No. CV 16-00759-LAB (JLB), 2016 WL 1324424 at *1 (S.D. Cal. Apr. 5,

 7 2016) (quoting Semitool, 208 F.R.D., at 275–76).

 8
          District courts in the Ninth Circuit apply a three-factor test when
 9        considering motions for expedited discovery to identify certain
          defendants. First, the plaintiff should identify the missing party with
10
          sufficient specificity such that the Court can determine that the
11        defendant is a real person or entity who could be sued in federal court.
          Second, the plaintiff must describe all previous steps taken to locate
12
          the elusive defendant to ensure that plaintiff has made a good faith
13        effort to identify the defendant. Third, plaintiff should establish that
          its lawsuit could withstand a motion to dismiss.
14

15 Strike 3 Holdings, No. CV 17-2317-JAH (BLM), 2017 WL 6389848 at *2 (citing

16 Columbia Ins. Co., 185 F.R.D. at 578–80) (internal quotations and citations

17 omitted). “[T]he plaintiff must show that some act giving rise to liability actually

18 occurred and that the discovery is aimed at identifying the person who actually

19 committed the act.” Malibu Media, No. CV 16-1916-GPC (JMA), 2016 WL

20 6216183, at *1 (internal quotation marks and citation omitted).

21        B.     There Is Good Cause for this Court to Grant Plaintiff’s
22               Application for Leave to Serve Its Subpoena
23               1.      Strike 3 Identifies Doe Defendant with Sufficient Specificity
24        When evaluating an application for leave to take early discovery “the Court
25 examines whether the plaintiff has identified the defendants with sufficient

26 specificity, demonstrating that each defendant is a real person or entity who would

27 be subject to the Court's jurisdiction.” Distinct Media Ltd. v. Doe Defendants 1-

28                                                5

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 1 50, No. CV 15-03312 NC, 2015 WL 13389609, at *2 (N.D. Cal. Sept. 29, 2015)

 2 (citation omitted). This factor implies two inquiries: whether the infringement can

 3 be traced back to an actual person and whether this Court has personal jurisdiction

 4 over that individual.

 5                       a.    Strike 3 has Sufficiently Demonstrated that the
 6                             Infringement Conducted Using the Relevant IP Address
 7                             was Committed by an Actual Person
 8        “A plaintiff may show that a defendant is a real person or entity by
 9 providing evidence of ‘specific acts of misconduct that could only have been
10 perpetrated by actual people, as opposed to a mechanical process.’” Id. (quoting

11 G.N. Iheaku & Co. Ltd. v. Does 1-3, No. CV 14-02069 LB, 2014 WL 2759075, at

12 *2 (N.D. Cal. June 17, 2014)). Although the BitTorrent protocol contains some

13 default and automatic functions, none of these operations can take place without

14 human interaction. That is, but for Defendant directing his or her BitTorrent client

15 to download the torrent file, the alleged infringement would not have occurred.

16                       b.     Strike 3 Traced Doe Defendant’s IP Address to this
17                              Court’s Geographic Jurisdiction Using Geolocation
18                              Technology
19         “[A] plaintiff identifies Doe defendant[] with sufficient specificity by
20 providing the unique IP addresses assigned to an individual defendant on the day

21 of the allegedly infringing conduct, and by using ‘geolocation technology’ to trace

22 the IP address to a physical point of origin.” Malibu Media, No. CV 16-1916-GPC

23 (JMA), 2016 WL 6216183 at *2 (quoting 808 Holdings, LLC v. Collective of Dec.

24 29, 2011 Sharing Hash, 2012 WL 1648838, at *4 (S.D. Cal. May 4, 2012)). Here,

25 Strike 3 used Maxmind, a geolocation technology, to trace Defendant’s IP address

26 to a geographic area within this Court’s personal jurisdiction. See concurrently-

27 filed Declaration of Emilie Kennedy. This establishes “a prima facie showing of

28                                                6

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 1 personal jurisdiction over defendant.” AF Holdings LLC v. Doe, No. CV 12-

 2 04447 RMW, 2012 WL 12973140, at *2 (N.D. Cal. Nov. 6, 2012); see also Braun

 3 v. Doe, No. CV 12-3690 YGR (JSC), 2012 WL 3627640, at *2 (N.D. Cal. Aug.

 4 21, 2012) (noting that “[p]ublicly available software provides basic, or at least

 5 presumptive, geographic information about IP addresses”)) (citation omitted).

 6        This Court has accepted Maxmind’s findings for the purpose of allowing
 7 expedited discovery. See e.g., Strike 3 Holdings, No. CV 17-2317-JAH (BLM),

 8 2017 WL 6389848, at *2; Cell Film Holdings, LLC v. Doe, No. CV 16-2584-BEN

 9 (BLM), 2016 WL 6523432, at *2 n.2 (S.D. Cal. Nov. 3, 2016), Criminal Prods.,
10 Inc. v. Doe, No. CV 16-2589 WQH (JLB), 2016 WL 6822186, at *3 (S.D. Cal.

11 Nov. 18, 2016) (“The Court concludes that based on the timing of the IP address

12 tracing efforts employed by Plaintiff's investigator, the documented success of the

13 Maxmind geolocation service, and Plaintiff's counsel's efforts to independently

14 verify the location information provided by Plaintiff's investigator, Plaintiff has

15 met its evidentiary burden [that jurisdiction is proper].”). Indeed, federal law

16 enforcement relies on Maxmind for its cyber investigations. See e.g., United

17 States v. Tillotson, No. CR 2:08-33, 2008 WL 5140773, at *6 (E.D. Tenn. Dec. 2,

18 2008) (Department of Justice); United States v. Richardson, No. CR 4:11-3116,

19 2012 WL 10382 at *2 (D. Neb. Jan. 3, 2012), report and recommendation

20 adopted, No. CR 4:11-3116, 2012 WL 395509 (D. Neb. Feb. 7, 2012) (Federal

21 Bureau of Investigation); see also Complaint at ¶ 9. Since Strike 3 has

22 demonstrated that the infringer is an actual person, and because Strike 3correlated

23 this IP address with a location within this Court’s jurisdiction using proven and

24 reliable geolocation technology, this factor favors expedited discovery.

25

26

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 1               2.      Strike 3 Has Identified All Previous Steps Taken to Locate
 2                       the Unknown Doe Defendant
 3         “Next, Plaintiff must identify all previous steps taken to identify the Doe
 4 Defendant in a good faith effort to locate and serve it.” Malibu Media, LLC v.

 5 Doe, No. CV 16-1916-GPC (JMA), 2016 WL 6216183 at *2 (citing Columbia

 6 Ins. Co., 185 F.R.D. at 579). Here, Strike 3 has diligently attempted to correlate

 7 Defendant’s IP address to Defendant by searching for Defendant’s IP address on

 8 various web search tools, including basic search engines like www.google.com.

 9 Strike 3 has further conducted its own diligent research on its ability to identify
10 Defendant by other means by reviewing numerous sources of authority, most of

11 which have been discussed above (e.g., legislative reports, agency websites,

12 informational technology guides, governing case law, etc.).

13         Strike 3 has also discussed the issue at length with computer investigators
14 and cyber security consultants. Strike 3 has been unable to identify any other way

15 to go about obtaining the identities of its infringers and does not know how else it

16 could possibly enforce its copyrights from illegal piracy over the Internet. “This

17 is the case because although publicly available data allowed Plaintiff to identify

18 the specific ISP used by Defendant as well as the city associated with the IP

19 address, it did not permit Plaintiff to ascertain the identity of the subscriber or

20 actual defendant. Accordingly, Plaintiff appears to have investigated and obtained

21 the data pertaining to the alleged infringement in a good faith effort to locate

22 Defendant.” Cobbler Nevada, LLC v. Doe-68.8.213.203, No. CV 15-2729-GPC

23 (JMA), 2015 WL 9026554, at *2 (S.D. Cal. Dec. 15, 2015). Thus, Strike 3 has

24 exhausted all other alternatives for identifying Defendant.

25         Plaintiff originally attempted to gain permission to serve the subpoena
26 requested in this application by first utilizing a state court procedure in Florida,

27 where Strike 3's infringement detection servers are located. Compl. ¶ 6.

28                                                8

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 1 However, the ISP stated that it would only comply with a subpoena authorized by

 2 a federal court, leading Strike 3 to file its claim with this Court. But regardless of

 3 whether the subpoena is authorized by a court in Florida, or this Court, the fact

 4 remains: a subpoena to the ISP is the only method available for Plaintiff to learn

 5 Defendant’s identity.

 6                3.     Strike 3’s Complaint Could Withstand a Motion to Dismiss
 7         Finally, Strike 3’s Complaint could and would withstand a motion to
 8 dismiss. This factor acts as a gatekeeper designed to “prevent abuse of this

 9 extraordinary application of the discovery process and to ensure that plaintiff has
10 standing to pursue an action against defendant.” Columbia Ins. Co., 185 F.R.D. at

11 579–80 (citation omitted).

12         As this is an action for copyright infringement, this Court has subject matter
13 jurisdiction pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1338

14 (jurisdiction over copyright actions). See Complaint at ¶ 7; see also Strike 3

15 Holdings, LLC v. Doe, No. CV 3:17-02316-GPC (KSC), 2018 WL 324264, at *3

16 (S.D. Cal. Jan. 5, 2018) (finding “the Complaint correctly alleges subject matter

17 jurisdiction pursuant to Title 28”). This Court also has personal jurisdiction over

18 Defendant because Defendant’s infringement took place within the geographic

19 scope of this Court’s jurisdiction, supra Section B.1.b., and Defendant also likely

20 resides within this District or at least has substantial contacts with this District.

21 See Complaint ¶¶ 8–9. Venue is appropriate pursuant to 28 U.S.C. § 1391(b) and

22 (c) as well as 28 U.S.C. § 1400(a) (venue for copyright cases). See Complaint

23 ¶ 10; see also Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124,

24 1126 (9th Cir. 2010) (“This circuit interprets [28 U.S.C. § 1400(a)] to allow venue

25 in any judicial district where, if treated as a separate state, the defendant would be

26 subject to personal jurisdiction”).

27

28                                                9

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 1         Finally, “[t]o survive a motion to dismiss [for failure to state a claim upon
 2 which relief can be granted], a complaint must contain sufficient factual matter,

 3 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

 4 v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009)

 5 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Strike 3’s

 6 Complaint would survive such a motion.

 7         To make a prima facie claim for copyright infringement, a plaintiff must
 8 show (1) ownership of a valid copyright, and (2) copying of constituent elements

 9 of the work that are original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S.
10 340, 361 (1991). “In addition, direct infringement requires the plaintiff to show

11 causation (also referred to as ‘volitional conduct’) by the defendant.” Perfect 10,

12 Inc. v. Giganews, Inc., 847 F.3d 657, 666 (9th Cir. 2017) (citing Fox Broad. Co.,

13 Inc. v. Dish Network L.L.C., 747 F.3d 1060, 1067 (9th Cir. 2013)). Strike 3’s

14 Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works,

15 which [are] an original work of authorship”; (2) “[d]efendant copied and

16 distributed the constituent elements of Plaintiff’s Works using the BitTorrent

17 protocol”; and (3) “[a]t no point in time did Plaintiff authorize, permit or consent

18 to Defendant’s distribution of its Works, expressly or otherwise.” See Complaint

19 at ¶¶ 35–37.

20         Strike 3 owns a valid copyright in the Works, which are registered with the
21 United States Copyright Office. See Complaint at ¶¶ 31–33; see also 17 U.S.C.

22 § 410(c); Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, No. CV 17-

23 571, 2019 WL 1005829, at *5 (U.S. Mar. 4, 2019). Strike 3’s prima facie

24 allegations of infringement are attested to by Strike 3’s investigator, David

25 Williamson. See Williamson Decl. Finally, each digital file has been verified to

26 be a copy of one of Strike 3’s copyrighted works. See concurrently-filed

27 Declaration of Susan Stalzer.

28                                               10

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 1          Strike 3 has also made a plausible prima facie showing of “copying.” “‘The
 2 word 'copying' is shorthand for the infringing of any of the copyright owner's five

 3 exclusive rights’ described in § 106.” A&M Records, Inc. v. Napster, Inc., 239

 4 F.3d 1004, 1013 (9th Cir. 2001). Strike 3’s Complaint alleges that Doe Defendant

 5 not only downloaded Strike 3’s works over the BitTorrent network, see 17 U.S.C.

 6 § 106(1), but also distributed these files to the BitTorrent swarm. See id. § 106(3);

 7 see also Complaint at ¶ 38. Additionally, by downloading the torrent files,

 8 Defendant triggered a cascade of technical operations, making Defendant the

 9 “proximate cause” of all of the violations of Plaintiff’s copyrights. Giganews,
10 Inc., 847 F.3d at 666. Indeed, “a court could reasonably infer that someone with

11 prolonged, continuous access to this IP address was responsible for the alleged

12 infringement.” Strike 3 Holdings, LLC v. Doe, No. 18-7188, 2020 WL 3967836,

13 at *6, 8 (D.C. Cir. July 14, 2020) (reversing dismissal for failure to state a claim).

14          As a result, Strike 3 has made a prima facie case against Defendant and thus
15 demonstrated good cause for leave to take early discovery. See Criminal Prods.,

16 Inc. v. Doe, No. CV 16-02353-DMS (MDD), 2016 WL 6070355, at *3 (S.D. Cal.

17 Oct. 17, 2016) (accepting a similar prima facie case as satisfying this factor).

18                 4.      There is a Reasonable Likelihood that Strike 3 Can Identify
19                         the Defendant and Effectuate Service
20          Strike 3’s knows that AT&T U-verse is the owner of Defendant’s IP
21 address because Maxmind’s geolocation service has identified AT&T U-verse as

22 the owner. Moreover, the American Registry for Internet Numbers (“ARIN”)

23 identifies AT&T U-verse as the owner of the IP address.2 See Decl. Stalzer; see

24 also BMG Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., No. CV 16-1972, 2018

25 WL 650316, at *2 (4th Cir. Feb. 1, 2018) (noting “only the ISP can match the IP

26 address to the subscriber's identity”). ARIN is a nonprofit, member-based

27
       2
           https://whois.arin.net/
28                                                 11

              Memorandum of Points and Authorities in Support of Plaintiff’s Ex-Parte Application
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 1 organization, responsible for the management and distribution of IP addresses

 2 across most of North America, including all of the United States.3

 3         The subpoena seeks Doe Defendant’s name and address, which are
 4 currently unknown to Plaintiff. With Defendant’s identity, Plaintiff will be able to

 5 amend its complaint to name Doe Defendant4 and with said name and address,

 6 will be able to serve a summons upon Defendant pursuant to Fed. R. Civ. P. 4(a)

 7 and (e) (requiring Plaintiff to name the Defendant and effectuate service on that

 8 individual). Without the subpoenaed for information, Strike 3 cannot properly

 9 serve Doe Defendant because it does not know his or her identity.
10         C.    Protective Order
11         In BitTorrent cases involving adult content, Courts have found it
12 appropriate to issue a protective order establishing procedural safeguards such as

13 allowing a defendant to proceed anonymously. See e.g., Strike 3 Holdings, No.

14 CV 17-2317-JAH (BLM), 2017 WL 6389848 at *3–4; Strike 3 Holdings, LLC v.

15 Doe, No. 18-12585 (NLH)(JS), 2020 WL 3567282 (D.N.J. June 30, 2020). As set

16 forth above, Strike 3 agrees and this comports with Strike 3’s policy of respecting

17 privacy in these matters. Thus, should the Court find such procedures to be

18 appropriate, Strike 3 would not oppose them being established in this action and in

19 facts welcomes these procedures.

20

21

22

23
       3
24      https://www.arin.net/about_us/overview.html
       4
        As set forth in Section II(B) above, Strike 3 has a policy to, upon request,
25 allow defendants to proceed anonymously in these cases. Moreover, as set forth
   in Section III(C) below, Strike 3 does not oppose courts at the outset putting in
26 place orders to protect a defendant’s privacy interests. Thus, if Strike 3 does
   decide to proceed in this matter with the filing of an amended complaint, it would
27 most likely being done so under seal pursuant to an order issued on request by the
   defendant or based on an order already in place by the Court, as suggested below.
28                                               12

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 1 IV.    CONCLUSION
 2        For the foregoing reasons, Plaintiff respectfully requests this Court grant to
 3 Plaintiff leave to issue a Rule 45 subpoena to Defendant’s ISP.

 4
     Date: 12/03/2020                          Respectfully submitted,
 5

 6                                             By: ___________________
                                               Lincoln Bandlow, Esq.
 7                                             Law Offices of Lincoln Bandlow, P.C.
 8                                             Attorney for Plaintiff
                                               Strike 3 Holdings, LLC
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